               Case 15-11880-BLS             Doc 114-1         Filed 09/17/15        Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :                         Chapter 11
In re:                              :
                                    :                         Case No. 15-11880 (BLS)
QUIKSILVER, INC., et al.,           :
                                    :                         Jointly Administered
                          Debtors.1 :
                                    :
                                    :                         Hrg. Date: Oct. 6, 2015 at 10:00 a.m. (Eastern)
                                                              Obj. Due: Sept. 29, 2015 at 4:00 p.m. (Eastern)
---------------------------------x

  NOTICE OF DEBTORS’ MOTION FOR ORDER PURSUANT TO BANKRUPTCY
CODE SECTIONS 105(A), 327, 330 AND 331 AUTHORIZING DEBTORS TO EMPLOY
AND PAY PROFESSIONALS UTILIZED IN THE ORDINARY COURSE OF BUSINESS

                 PLEASE TAKE NOTICE that the debtors and debtors-in-possession in the above-

captioned jointly administered bankruptcy cases (collectively, the “Debtors”) filed the Debtors’

Motion For Order Pursuant To Bankruptcy Code Sections 105(a), 327, 330 And 331 Authorizing

Debtors To Employ And Pay Professionals Utilized In The Ordinary Course Of Business (the

“Motion”).

                 PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion or the

relief requested therein must be made in writing, filed with the Bankruptcy Court (as defined

below), and served so as to be received by the following parties no later than September 29,

2015 at 4:00 p.m. (Eastern):

              (i) proposed counsel to the Debtors, Skadden, Arps, Slate, Meagher & Flom LLP,
300 South Grand Avenue, Suite 3400, Los Angeles, California 90071, Attn: Van C. Durrer, II,
Esq. (Van.Durrer@skadden.com), and 155 North Wacker Drive, Chicago, Illinois 60606, Attn:
John K. Lyons, Esq. (John.Lyons@skadden.com);

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors’
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
             Case 15-11880-BLS          Doc 114-1      Filed 09/17/15     Page 2 of 3




                (ii) counsel to the agent for the Debtors’ postpetition secured term loan facility,
Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois 60654, Attn: Patrick J. Nash, Jr.
(patrick.nash@kirkland.com), and Morris Nichols Arsht & Tunnell LLP, 1201 North Market
Street, 16th Floor, P.O. Box 1347, Wilmington, Delaware 19899-1347, Attn: Robert J. Dehney,
Esq. (rdehney@mnat.com);

               (iii) counsel to the agent for the Debtors’ prepetition and postpetition secured
revolving loan facilities, Reimer & Braunstein LLP, Three Center Plaza, Boston, Massachusetts
02108, Attn: David S. Berman, Esq. (dberman@riemerlaw.com), and Times Square Tower,
Seven Times Square, Suite 2506, New York, New York 10036, Steven E. Fox, Esq.
(sfox@riemerlaw.com), and Womble Carlyle Sandridge & Rice, LLP, 222 Delaware Avenue,
Suite 1501, Wilmington, Delaware 19801, Attn: Steven K. Kortanek, Esq.
(skortanek@wcsr.com);

               (iv) the agent for the Debtors’ prepetition senior secured notes and prepetition
senior unsecured notes, U.S. Bank National Association, Global Corporate Trust Services, 100
Wall Street, New York, New York 10005, Attn: Justin L. Shearer, Vice President
(justin.shearer@usbank.com);

               (v) the Debtors’ consolidated list of thirty largest unsecured creditors listed on its
bankruptcy petitions, or if any official committee of unsecured creditors has been appointed,
counsel to such committee; and

                (vi) the Office of the United States Trustee for the District of Delaware, 844 King
Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attention: Mark S. Kenney, Esq.
(fax: (302) 573-6497)).

               PLEASE TAKE FURTHER NOTICE that the hearing on the Motion (the

“Hearing”) will be held on October 6, 2015 at 10:00 a.m. (Eastern) before the Honorable

Brendan L. Shannon, United States Bankruptcy Judge for the District of Delaware, in the United

States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”), 6th Floor,

Courtroom 1, 824 Market Street, Wilmington, Delaware 19801.




                                                  2
               Case 15-11880-BLS    Doc 114-1    Filed 09/17/15   Page 3 of 3




                 PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS TO

THE MOTION ARE TIMELY FILED AND RECEIVED IN ACCORDANCE WITH THE

ABOVE PROCEDURES, THE RELIEF REQUESTED IN THE MOTION MAY BE

GRANTED WITHOUT FURTHER NOTICE OR HEARING.

Dated:     Wilmington, Delaware
           September 17, 2015

                                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

                                   /s/ Van C. Durrer, II
                                   Van C. Durrer, II (I.D. No. 3827)
                                   Annie Z. Li
                                   300 South Grand Avenue, Suite 3400
                                   Los Angeles, California 90071
                                   Telephone: (213) 687-5000
                                   Fax: (213) 687-5600

                                   - and -

                                   John K. Lyons
                                   Jessica S. Kumar
                                   155 N. Wacker Dr.
                                   Chicago, Illinois 60606
                                   Telephone: (312) 407-0700
                                   Fax: (312) 407-0411

                                   Proposed Counsel for Debtors and Debtors in Possession




                                             3
771841-WILSR01A - MSW
